Case 2:OO-CV-02923-SH|\/|-egb Document 258 Filed 07/25/05 Page 1 of 4 Page|D 437

 

IN THE UNITED sTATEs DISTRICT coUR'mm m.,-. ----~°£‘
FoR THE wESTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 05 Ju\_z§ AH 6= h3
EQUAL EMPLOYMENT oPPORTUNITY U£. WMDBMCTUH
coMMISSION, and : whoFTN.MEW\'B

CONSTANCE AMOS,

Plaintiffs,
VS. NO. 00-2923-Ma
AUTOZONE, INC.,

Defendant.

 

ORDER GRANTING MOTION TO EXTEND TIME

 

Before the court is defendant Autozone’s July 13, 2005,
unopposed motion requesting additional time within which to file
a response to EEOC's motion in limine to exclude testimony of Dr.
Arnold Levine. For good cause shown, the motion is granted.
Autozone shall have to and including July 29, 2005, within Which
to file a response to the motion in limine.

rt is So 0RDERE:D this '”"( day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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F TENNESSEE

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Honorable Samuel Mays
US DISTRICT COURT

